            Case 24-40605                 Doc 164       Filed 06/24/24 Entered 06/24/24 19:53:53                   Desc Main
Fill in this information to identify the case:
                                                         Document     Page 1 of 9

Debtor Name Remarkable      Healthcare
            Remarkable Healthcare            of LP
                                  of Carrollton, Carrollton, LP

                                    __________ District of __________
United States Bankruptcy Court for the_Eastern__Texas
                                                                                                                   ✔ Check if this is an
                                                                                                                   
              24-40605
                                                                                                                        amended filing
Case number: 24-40605




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:               April            2024                                                    Date report filed:      _05/21/2024__________
                                                                                                                      MM / DD / YYYY

Line of business: NursingHome_                                                                NAISC code:             6231
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                         __Jon McPike________

Original signature of responsible party    ____________________________________________

Printed name of responsible party          __Jon McPike__________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                              
                                                                                                                                   ✔        
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔               
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔               
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔               
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔               
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔               
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔        
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔        
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔        
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔        
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                
                                                                                                                           ✔               
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔        
Official Form 425C                         Monthly Operating Report for Small Business Under Chapter 11                        page 1
              Case 24-40605         Doc 164        Filed 06/24/24 Entered 06/24/24 19:53:53                         Desc Main
                                                    Document     Page 2 of 9
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                             24-40605
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               20,430.00
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            461,102.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          413,739.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                              47,363.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                              67,793.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                        151,426.77
                                                                                                                            $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
              Case 24-40605          Doc 164        Filed 06/24/24 Entered 06/24/24 19:53:53                           Desc Main
                                                     Document     Page 3 of 9
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                                24-40605
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,439,452.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         131
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                         136
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                    1,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      11,750.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                               5,000.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                              5,000.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –     461,102.00
                                                                     $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                       413,739.00              =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –      47,363.00              =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         327,992.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  447,845.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                  -116,793.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
              Case 24-40605          Doc 164         Filed 06/24/24 Entered 06/24/24 19:53:53                    Desc Main
                                                      Document     Page 4 of 9
Debtor Name   Remarkable    Healthcare of Carrollton, LP
              _______________________________________________________                            24-40605
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
 Case 24-40605      Doc 164     Filed 06/24/24 Entered 06/24/24 19:53:53   Desc Main
                                 Document     Page 5 of 9



                                            EXHIBIT A

2. Do you plan to continue to operate the business next month? No

On May 13, 2024, the Debtors transferred management to the Landlord.
Case 24-40605   Doc 164      Filed 06/24/24 Entered 06/24/24 19:53:53         Desc Main
                              Document     Page 6 of 9



                                        EXHIBIT B

       15. Have you borrowed money from anyone or has anyone made any payments on

          your behalf? Yes

       a. The Debtors received DIP Financing from the Landlord to pay payroll. The

          Debtors filed this Amended MOR to report the monies received by the Landlord

          appropriately in the MORs, which had not been accounted for in the original April

          MOR.
                 Case 24-40605          Doc 164        Filed 06/24/24 Entered 06/24/24 19:53:53                        Desc Main
                                                        Document       Page
                                                                 EXHIBIT C  7 of 9

Post Date Account Name                  Transaction Description    Status    Debit/CreditAmount   Transaction Detail                        BAI Code Currency
  4/30/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       3592.16 CENTENE CORP                  /                 165 USD     /
  4/30/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        608.34 HNB - ECHO           /                     462265960
                                                                                                                                                  165 USD         /
  4/29/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         2053 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/25/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        11814 AETNA AS01            /                     XXXXX5960
                                                                                                                                                  165 USD          /
  4/25/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         2119 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/25/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         56.16 AETNA AS01           /                     XXXXX5960
                                                                                                                                                  165 USD          /
  4/24/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        11250 UnitedHealthcare          /                   462265960
                                                                                                                                                  165 USD            /
  4/22/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         2000 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/19/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        3223.7 CENTRAL PAYMENT                   /             84870022149101
                                                                                                                                                  165 USD
  4/19/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       1048.27 UnitedHealthcare         /                   462265960
                                                                                                                                                  165 USD            /
  4/17/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          614 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/16/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          16.8 AETNA AS01           /                     XXXXX5960
                                                                                                                                                  165 USD          /
  4/15/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         1500 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/15/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        410.29 Wellpoint TX5C           /                  3238362594
                                                                                                                                                  165 USD             /
  4/12/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        613.72 UnitedHealthcare          /                  462265960
                                                                                                                                                  165 USD            /
  4/10/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       7466.62 HNB - ECHO           /                     462265960
                                                                                                                                                  165 USD         /
   4/9/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        3975.9 Wellpoint TX5C           /                  3237865565
                                                                                                                                                  165 USD             /
   4/9/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        329.91 BCBS TEXAS           /                     C24096E51859410
                                                                                                                                                  165 USD
   4/5/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       8215.61 CENTRAL PAYMENT                   /             84870022149101
                                                                                                                                                  165 USD
   4/5/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       2090.25 HNB - ECHO           /                     462265960
                                                                                                                                                  165 USD         /
   4/5/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       1367.65 Wellpoint TX5C           /                  3237646695
                                                                                                                                                  165 USD             /
   4/4/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      16959.52 Wellpoint TX5C           /                  3237515634
                                                                                                                                                  165 USD             /
   4/3/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         5550 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
   4/1/24 Carrollton/PWD COM Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit          900 CENTRAL PAYMENT                    /             84870022149101
                                                                                                                                                  165 USD
  4/30/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       9656.72                                                 175 USD
  4/30/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      61446.84 HEALTH HUMAN SVC                      /         165
                                                                                                                                                   14622659606000
                                                                                                                                                       USD
  4/29/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       2769.47 HUMANA CHA DISB                   /             46435534
                                                                                                                                                  165 USD
  4/24/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       2173.71 HEALTH HUMAN SVC                      /         165
                                                                                                                                                   14622659606000
                                                                                                                                                       USD
  4/24/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit        844.09 MOLINA HEALTHCAR                      /         165
                                                                                                                                                   01275755
                                                                                                                                                       USD
  4/23/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       1401.04 HUMANA CHA DISB                   /             46185649
                                                                                                                                                  165 USD
  4/23/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         94.89 HUMANA CHA DISB                   /             46185648
                                                                                                                                                  165 USD
  4/19/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit         1103                                                  175 USD
  4/18/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       9320.26 HNB - ECHO           /                     462265960
                                                                                                                                                  165 USD         /
  4/17/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit      10501.46                                                 175 USD
  4/16/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      16310.84 NOVITAS SOLUTION                  /             676363
                                                                                                                                                  165 USD            /
  4/15/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit         2244 HNB - ECHO            /                     462265960
                                                                                                                                                  165 USD         /
  4/10/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      18361.23 HEALTH HUMAN SVC                      /         165
                                                                                                                                                   14622659606000
                                                                                                                                                       USD
   4/9/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       3362.85                                                 175 USD
   4/8/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit      11354.03 NOVITAS SOLUTION                  /             676363
                                                                                                                                                  165 USD            /
   4/5/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       2858.53                                                 175 USD
   4/4/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit        6459.4                                                 175 USD
   4/4/24 Carrollton/PWD GOV Deposits   PREAUTHORIZED ACH CREDIT   Cleared   Credit       2467.63 NOVITAS SOLUTION                  /             676363
                                                                                                                                                  165 USD            /
   4/2/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       5601.84                                                 175 USD
   4/2/24 Carrollton/PWD GOV Deposits   CHECK DEPOSIT PACKAGE      Cleared   Credit       4486.76                                                 175 USD

                                                                                       260593.5
             Case 24-40605              Doc 164          Filed 06/24/24 Entered 06/24/24 19:53:53             Desc Main
                                                          Document       Page
                                                                   EXHIBIT D  8 of 9

4/30/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH-66DEBIT
                                                       62000019 Debit    DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
4/30/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-23.45
                                               ACH DEBIT
                                                       62000019 Debit    EXPONENTHR / 24-07683-5059 / EXPONENTHR INVOICE / EXPONENT TECHN 24-0768
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT          -594 62000019 Debit     IN *BIOMEDICAL 5169 / 409-7362447 TX 77640 0108 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -280.18 62000019 Debit      AMZN Mktp US*NF 5942 / Amzn.com bill WA 98109 5957 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -198.4 62000019 Debit      HAD*HARRY & DAV 5441 / 800-345-5655 OR 97501 5957 /
4/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -92.54 62000019 Debit      AMAZON.COM*6D7X 5942 / SEATTLE WA 98109 5957 /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -8,053.75
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -3,521.50
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,555.49
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-16.46
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -678.14 62000019 Debit      AMZN Mktp US*SA 5942 / Amzn.com bill WA 98109 5957 /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -100.61 62000019 Debit      AMZN Mktp US*1V 5942 / Amzn.com bill WA 98109 5957 /
4/26/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -2.13 62000019 Debit     WM SUPERC Wal- 5411 / PLANO 0108 /
4/26/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -564.78
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/26/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -350DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/25/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -476.95 62000019 Debit      G.M. SUPPLIES L 5085 / 800-537-1005 IL 60061 0108 /
4/25/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,450.45
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/24/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -229.6 62000019 Debit      AMZN Mktp US*EK 5942 / Amzn.com bill WA 98109 5957 /
4/24/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -51.53 62000019 Debit      AMZN Mktp US*96 5942 / Amzn.com bill WA 98109 5957 /
4/24/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,300.00
                                               ACH DEBIT
                                                       62000019 Debit    MIRANDA M. WILLI / / MIRANDA M. WILLI SALE / REMARKABLE HEA /
4/24/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH-71DEBIT
                                                       62000019 Debit    MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 4501 PLANO PAR /
4/22/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT           -50 62000019 Debit     SAMS CLUB RENEW 5300 / 4699522417 TX 75069 5957 /
4/22/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -32.46 62000019 Debit      ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
4/19/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -21.64 62000019 Debit      ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
4/19/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -7,280.65
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/19/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -803.19
                                               ACH DEBIT
                                                       62000019 Debit    CARE ONE COMMUNI CAREONECOM / DIANE MCPIKE M80396910801 /
4/17/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -1,115.00
                                               ACH DEBIT
                                                       62000019 Debit    DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
4/15/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,633.66
                                               ACH DEBIT
                                                       62000019 Debit    CAC SPECIALTY / 17358329 / CAC SPECIALTY PAYMENTS / REGIONS BANK 17358329
4/15/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -70.25 62000019 Debit      THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
4/15/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -1,846.62
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/12/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -5,000.00
                                               ACH DEBIT
                                                       62000019 Debit    JW HCRS LLC / 24...
4/12/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit    PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
4/12/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT            -5 62000019 Debit     UT SOUTHWESTERN 7523 / DALLAS TX 75390 5957 /
4/12/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                           -1,000.00
                                               DEBIT 62000019 Debit      EB TO CHECKING # 0247446188 / REF# 000000 8647340 /
4/12/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -45.48 62000019 Debit      AMZN Mktp US*D1 5942 / Amzn.com bill WA 98109 5957 /
4/11/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -625DEBIT
                                                       62000019 Debit    JMJ1 / / JMJ1 SALE / REMARKABLE HEA /
4/10/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -4,633.66
                                               ACH DEBIT
                                                       62000019 Debit    CAC SPECIALTY / 17306329 / CAC SPECIALTY PAYMENTS / REGIONS BANK 17306329
 4/9/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                             -394.53
                                               FEES 62000019 Debit       ANALYSIS CHARGE 03-24 /
 4/9/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements FEES
                                                  -37 62000019 Debit     ANALYSIS EXPLICIT CHARGE 03-24 /
 4/9/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements ACH
                                                 -625DEBIT
                                                       62000019 Debit    JMJ1 / / JMJ1 SALE / REMARKABLE HEA /
 4/9/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements-14.55
                                               ACH DEBIT
                                                       62000019 Debit    DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -765.94 62000019 Debit      AMZN Mktp US*0E 5942 / Amzn.com bill WA 98109 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -43.26 62000019 Debit      THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -25.95 62000019 Debit      THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/8/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -8.93 62000019 Debit     Microsoft G0429 5045 / 701-2817490 WA 98052 5957 /
 4/5/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -48.98 62000019 Debit      AMZN Mktp US*TQ 5942 / Amzn.com bill WA 98109 5957 /
 4/5/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -16,900.00
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/5/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit    PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
 4/4/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -201.07 62000019 Debit      AMZN Mktp US*X4 5942 / Amzn.com bill WA 98109 5957 /
 4/4/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -8.05 62000019 Debit     WM SUPERCENTER 5411 / PLANO TX 75093 5957 /
 4/4/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -30,112.98
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/4/24 Cleared   Carrollton/PWD
                              MISCELLANEOUS
                                 Disbursements
                                          -10,000.00
                                               DEBIT 62000019 Debit      EB TO CHECKING # 0247446188 / REF# 000000 8647314 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -115.21 62000019 Debit      RINGCENTRAL INC 4814 / 888-898-4591 CA 94002 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -48.6 62000019 Debit     WCI*WASTE CONNE 4900 / 832-442-2200 TX 77380 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT          -660 62000019 Debit     VT DIAGNOSTEX B 8011 / 817-5146271 TX 76054 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT           -51 62000019 Debit     ALARMS ECOM 9399 / 972-466-3120 TX 75006 0108 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -37.73 62000019 Debit      AMZN Mktp US*RO 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -23.82 62000019 Debit      AMZN Mktp US*EQ 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -22.81 62000019 Debit      AMZN Mktp US*QZ 5942 / Amzn.com bill WA 98109 5957 /
 4/3/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                          -20,261.45
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT    -4,275.88 62000019 Debit      NORTH TEXAS FIR 1731 / 194-04358403 TX 76266 0108 /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -331.06 62000019 Debit      Indeed 90600881 7311 / 800-4625842 TX 78750 5957 /
 4/2/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -257.88 62000019 Debit      MRS PRINDAB 5499 / 888-215-1100 IL 60714 5957 /
 4/2/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -870.49
                                               ACH DEBIT
                                                       62000019 Debit    CENTRAL PAYMENT / 84...
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -25.95 62000019 Debit      THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -16.12 62000019 Debit      RACETRAC 77 0 5542 / CARROLLTON TX 75010 5957 /
 4/1/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT      -154.94 62000019 Debit      WALMART.COM 5310 / 800-925-6278 AR 72716 5957 /
3/29/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                             -283.52
                                               ACH DEBIT
                                                       62000019 Debit    PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
3/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -10.91 62000019 Debit      WAL-MART #2086 5411 / PLANO TX 75093 5957 /
3/29/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -27.04 62000019 Debit      THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
3/28/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT       -92.54 62000019 Debit      Amazon.com*RA2V 5942 / Amzn.com bill WA 98109 5957 /
3/28/24 Cleared   Carrollton/PWD
                              ATMDisbursements
                                  DEBIT         -5.57 62000019 Debit     UBER TRIP 4121 / HELP.UBER.COM CA 94105 5957 /
3/28/24 Cleared   Carrollton/PWD
                              PREAUTHORIZED
                                 Disbursements
                                           -2,520.65
                                               ACH DEBIT
                                                       62000019 Debit    REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
                Case 24-40605              Doc 164          Filed 06/24/24 Entered 06/24/24 19:53:53            Desc Main
                                                             Document       Page
                                                                      EXHIBIT D  9 of 9

   3/28/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements
                                               -283.52
                                                  ACH DEBIT
                                                          62000019 Debit    PERFORMANCESSLA / Cust #02459 / PERFORMANCESSLA AR PAYMENT / REMARKA
   3/28/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements ACH-71DEBIT
                                                          62000019 Debit    MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 4501 PLANO PAR /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -123.11 62000019 Debit       CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -102.76 62000019 Debit       CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/27/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -394.83 62000019 Debit       CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/25/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements
                                               -394.83
                                                  ACH DEBIT
                                                          62000019 Debit    CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/25/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements-25.95
                                                  ACH DEBIT
                                                          62000019 Debit    THE HOME DEPOT 5200 / PLANO TX 75093 5957 /
   3/21/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT         -91.9 62000019 Debit     WALMART.COM 5310 / 800-925-6278 AR 72716 5957 /
   3/21/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT         -7.99 62000019 Debit     MARKET STREET 5 5411 / FLOWER MOUND TX 75028 5957 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -638.13 62000019 Debit       CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT     -250.08 62000019 Debit       CST LLC 8050 / WWW.CROWNSHIE TX 75068 0108 /
   3/20/24 Cleared   Carrollton/PWD
                                 ATMDisbursements
                                     DEBIT       -32.46 62000019 Debit      ADOBE *ADOBE 5734 / 408-536-6000 CA 95110 5957 /
   3/20/24 Cleared   Carrollton/PWD
                                 PREAUTHORIZED
                                    Disbursements ACH-42DEBIT
                                                          62000019 Debit    DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / ACCOUNT NAME /


                                           $ (144,144.58)

          PAYROLL                           (269,593.94)


Total                                      $ (413,738.52)
